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                       EXHIBIT 1

               Master Services Agreement
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                        MASTER SERVICES AGREEMENT



This Master Services Agreement ("Agreement') is made as of July 18, 2014
(hereinafter "Effective Date") by and between Bridge Solutions Group, Inc., a
corporation organized under the laws of New Jersey, having a principal place of
business at 1 Bridge Plaza North, Suite 180, Fort Lee, NJ 07024 (hereinafter "Bridge
Solutions"), and The Bon-Ton Department Stores, Inc., a corporation organized
under the laws of Pennsylvania and having a principal place of business at 601
Building A Memory Lane, York, PA 17402 (hereinafter "Client").

1. RECITALS

WHEREAS Bridge Solutions is in the business of providing, and Client wishes to
engage Bridge Solutions to provide, Professional Services including but not limited to
development, consulting and support services for Client's technology and computer
systems, which services shall be more particularly described in one or more
Statement(s) of Work (SOW) agreed to and executed by both parties. By entering
into this Agreement, Bridge Solutions agrees to perform the designated services
during the term of this Agreement, subject to the terms and conditions of this
Agreement set forth below and in the applicable Statement(s) of Work.

2. SERVICES/SCOPE OF WORK

   2.1. Bridge Solutions will provide Professional Services as specified by individual
          Statement(s) of Work (SOW), as attached hereto and made a part of this
          Agreement (the "Services").

   2.2. In the event of a conflict between this Agreement and any term contained in
          any Statement of Work, such term of the Statement of Work shall control,
          provided that all Statements of Work entered into between Bridge
          Solutions and Client shall be subject to, and entered into pursuant to, the
          terms and conditions of this Agreement.


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  2.3. Any modification to the scope of the Services to be performed pursuant to
         any Statement of Work shall be agreed to by the parties in writing, and
         Bridge Solutions shall have no obligation to perform such changed
         Services until the parties have agreed in writing upon the effect of such
         changes to the fees and Deliverable schedules provided in such
         Statement of Work.

  2.4. If Bridge Solutions shall elect to perform such changed Services before the
         parties have made such agreements in writing, Bridge Solutions may
         expend such time for performance as it deems necessary and reasonable
         to perform the Services, and all terms and conditions of such performance
         shall be governed by this Agreement and the applicable Statement of
         Work.

3. RELATIONSHIP OF THE PARTIES

  3.1. The relationship of each of the parties hereto to the other party shall be that
         of an independent contractor, and nothing contained herein or in any
         Statement of Work shall be deemed or construed to create any kind of
         joint venture, partnership, employment, agency, or other relationship
         between the parties for any purpose.

  3.2. Neither party shall have the authority to bind, represent or commit the other
         party in any way, and neither party shall have the authority to assume or
         create any obligation or responsibility, express or implied, on behalf of, or
         in the name of the other party, or to enter into contracts on behalf of the
         other party hereto.

  3.3. Notwithstanding the foregoing, with Client's written permission, which shall
         not be unreasonably withheld, Bridge Solutions shall be permitted to use
         Client's name in its resume client list, case studies, and in other
         promotional material, including, but not limited to, press releases,
         brochures, reports, letters, white papers, electronic media such as e-mail



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                  or Web pages, and other materials or media as may be selected by Bridge
                  Solutions.

       4. INVOICING AND PAYMENT

       Client shall pay Bridge Solutions such fees for the Services provided in accordance
       with the applicable Statement of Work therefore. Bridge Solutions shall invoice Client
       monthly for Services rendered with sufficient detail to describe Services, in a format
       agreeable to Client. Monthly invoices shall be submitted by Bridge Solutions no later
       than the 151h day of the month following the billing period. Client shall pay to Bridge
       Solutions such invoiced amount within thirty (30) days of the date of such invoice.
       Any amount remaining unpaid after the expiration of such thirty (30) day period shall
       accrue interest at a rate of the lesser of (a) one and one-half percent (1.5%) per
       month or (b) the highest rate allowed by law.

       5. REIMBURSEMENT OF EXPENSES

       Client will reimburse Bridge Solutions for pre-approved, reasonable expenses
       incurred in the perfonnance of its obligations under the Statement(s) of Work
       associated with this agreement.

       6. REIMBURSEMENT OF OTHER FEES AND EXPENSES

       In the event that Client fails to make any payments to Bridge Solutions pursuant to
       this Agreement or any Statement of Work under this agreement, Client shall
       reimburse Bridge Solutions for any and all costs of collection reasonably incurred by
       Bridge Solutions, including, but not limited to, court costs and reasonable attorneys'
       fees.

       7. TERM AND TERMINATION

          7.1. It is the intention of both parties that this Agreement shall commence as of
                  the Effective Date and continue for a period of one year (the "Initial Tenn")
                  with renewable one-year tenns ("Renewal Tenn(s)") thereafter.            The


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       Agreement will be automatically renewed after the Initial Term and after
       each Renewal Term, if any, until otherwise terminated by either party
       under the terms set forth in this Section 7.

7.2. Either party may terminate either a single Statement of Work or this
       Agreement in its entirety (and all Statements of Work) at the end of the
       Initial Term or any Renewal Term for any reason by giving the other party
       sixty (60) days written notice of such termination; provided that upon
       receipt of such notice from Bridge Solutions, Client may elect to waive
       such notice period and have the Agreement or Statement(s) of Work, as
       applicable, terminate immediately.

7.3. In addition to any other remedies it may have, either party may terminate this
       Agreement for a breach of a material term of this Agreement by the other
       party, including failure io submit invoices or faiiure to pay fees as specified
       in section 4 of this Agreement, upon giving the other party thirty (30) days
       written notice identifying specifically the alleged breach, provided that the
       breaching party does not cure such breach within the thirty (30) day period
       or such longer term as the parties shall mutually agree in writing.

7.4. Either party may terminate this Agreement immediately upon written notice
       thereof to the other party if such other party makes an assignment for the
       benefit of creditors, becomes subject to a bankruptcy proceeding, or is
       subject to the appointment of a receiver.

7.5. Upon termination of this Agreement Client agrees to pay Bridge Solutions for
       any and all work performed under the Agreement up until the point of
       termination and Bridge Solutions agrees to provide knowledge transfer
       and turnover sufficient up to the point of termination to allow Client to
       assume support responsibilities for all Deliverables as defined in Section
       10.1.

7.6. Upon termination of this Agreement by either party, each party shall promptly
       return to the other party all data, materials, and other properties of the
       other party held by each party in accordance with Section 11 hereof.

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           Notwithstanding any provision herein to the contrary, upon termination of
           this Agreement, Client shall be the owner of all rights in and to the
           Deliverables as that term is defined in Section 10.1.

8. RESPONSIBILITIES OF CLIENT

   8.1. For Services performed at a Client's location, Client shall provide appropriate
          computer hardware, software and communications resources, system and
           user documentation, office space, telephone service, copying, facsimile or
           postage and general office supplies and support to Bridge Solutions as
           necessary to perform the Services and as agreed upon between Client
           and Bridge Solutions.

   8.2. If a Statement of Work sets forth certain Client responsibilities regarding the
           Services, Client sha!l assume those responsibilities, including the
          procurement and the evaluation of the appropriate capacity of any third
          party products or services.       Client understands that Bridge Solutions'
          performance is contingent on Clienfs timely and reasonable performance
          of its responsibilities and its timely decisions and approvals.

   8.3. Bridge Solutions may rely on all decisions and approvals of Client personnel
          identified by Client to Bridge Solutions in writing ("Authorized Client
          Representatives"). In the event that Client fails to perform any of its duties
          hereunder or as set forth in any Statement of Work, Bridge Solutions shall
          be relieved of any of its related and dependent obligations of performance
          hereunder or pursuant to such Statement of Work until such time as Client
          shall perform its duties.

9. RESPONSIBILITIES OF BRIDGE SOLUTIONS

Bridge Solutions shall, whenever on Client's premises, obey all reasonable policies
regarding conduct required by Client. Bridge Solutions' personnel assigned to
perform Services shall make all reasonable efforts to attend any requested policy or
technology training, at Client's expense, subject to all applicable rate schedules set


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forth in any Statements of Work.     Bridge Solutions shall, whenever connected to
Client's network, adhere to Client's Network Security and Acceptable Use policies.

10. OWNERSHIP OF DELIVERABLES- LICENSE RIGHTS

   10.1 All software programs, components, modifications and improvements to
      software programs, the source and object codes related thereto, and the
      technology and technical information related to such programs and
      components, and all other deliverable items generated by Bridge Solutions
      for Client under this Agreement, or pursuant to any Statement of Work
       (collectively, "Deliverables") shall be the exclusive property of Client
       unless otherwise explicitly stated in the Statement of Work. Client's
      ownership rights include, without implied limitation, the right to improve,
      modify, enhance and further develop the Deliverable.


   10.2 From time to time, Client may elect to license software from Bridge
      Solutions that has been independently developed by Bridge Solutions for
      sale in the marketplace ("Licensed Deliverable"). The terms of any such
       licensing will be explicitly defined in a separate agreement.


   10.3 Notwithstanding the foregoing, Bridge Solutions shall be free to use its
      general knowledge, skills and experience, and any ideas, concepts, know
      how and techniques related to Bridge Solutions' consulting under this
      Agreement in any manner desired by Bridge Solutions, including, but not
      limited to, in the course of providing services on other engagements
      (subject to Bridge Solutions' confidentiality obligations as set forth in
      Section 11 hereof).

11. CONFIDENTIALITY

   11.1. Each party agrees that any information concerning the other's business
          activities, products, research and technical knowledge disclosed by a party
          that is identified in writing as "Confidential Information" shall not be

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        duplicated or disclosed to any other party, unless such duplication or
        disclosure is authorized by the disclosing party. Each party shall protect
        the confidentiality of the Confidential Information in the same manner as it
        protects its own confidential information of like kind, and shall restrict
        access to such Confidential Information to the receiving party's personnel
        on a need-to-know basis.

11.2. Bridge Solutions acknowledges that by the nature of the work it will be
        granted access to Client's customer data and Client's associate data.
        Access to and use of such data is governed by strict policy related to
        security and confidentiality.       Bridge Solutions agrees to abide by all
        Client's data security policies and will promptly notify Client's CIO or VP of
        Application Systems of any violation of or exceptions to these policies.

11.3. Nothing in this Agreement shall restrict either party's use of information
        (including, but not limited to, ideas, concepts, know-how, techniques, and
        methodologies) that:        (a)   is or becomes publicly available through no
        breach of this Agreement; (b) is independently developed by it, as
        evidenced by written documentation; (c) is previously known to it without
        obligation of confidence, as evidenced by written documentation; or (d) is
        acquired by it from a third party which is not, to its knowledge, under an
        obligation of confidence with respect to such information.

11.4. In the event either party receives a subpoena or other validly issued
        administrative or judicial process requesting Confidential Information of the
        other party, the recipient shall promptly notify the other party of such
        receipt to enable such other party a reasonable opportunity to object to or
        seek a protective order with respect to such disclosure and may,
        thereafter, comply with such subpoena or process to the extent permitted
        bylaw.

11.5.   All Confidential lnfonnation shall be returned to the party that disclosed it
        to the receiving party or be destroyed upon the earlier of (a) completion of
        the Services or (b) the discloser's request. Bridge Solutions may retain,


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         subject to the obligations of this Section 11, copies of the Confidential
         Information for record keeping purposes.

  11.6. The obligations of confidentiality under this provision shall survive
         termination of this Agreement for a period of three (3) years. The parties
         acknowledge that damages in the event of breach of this confidentiality
         provision by a receiving party will be difficult to ascertain, and it is therefore
         agreed that notwithstanding any other provision of this Agreement to the
         contrary, a disclosing party, in addition to, and without limiting, any other
         remedy or right it may have, shall have the right to equitable relief,
         including without limitation, injunctive relief issued by a court of competent
        jurisdiction.

12. PERSONNEL

  12.1. In recognition that Bridge Solutions personnel performing under this
        Agreement may perform similar services for others, neither this Agreement
        nor any Statement of Work shall prevent Bridge Solutions from providing
        services or developing materials that are competitive with those developed
        or provided hereunder regardless of any similarity to such services or
        materials. All persons Bridge Solutions furnishes to provide the Services
         to Client shall be the employees or subcontractors of Bridge Solutions and
         shall be neither employees nor agents of Client. Bridge Solutions shall
        determine the staffing and assignment of its personnel for the performance
         of all Services. In the event that a Bridge Solutions associate is deemed
        unsatisfactory by Client management, Bridge Solutions agrees to work in
        good faith with Client to resolve the problem or provide an alternative
        resource.

  12.2. Neither party shall, during the term of this Agreement and for a period of
        twelve (12) months following termination, solicit the employment of the
         other party's employees either individually or through another party or
        employee without express written consent from the other party. Each party


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                 shall notify the other party prior to any discussion with an employee
                 regarding employment in violation of this provision.

         12.3. If either party breaches Section 12.2 and such breach results in the hiring
                 of an employee of the other party, the breaching party shall pay as
                 liquidated damages, and not as a penalty, the sum of $50,000 per
                 employee.    The parties agree and acknowledge that this liquidated
                 damages provision, and the agreed upon liquidated damages amount, is
                fair and reasonable based upon the difficulty of ascertaining an estimate of
                actual damages to the non-breaching party under this provision, and that
                 notwithstanding anything else to the contrary contained in this Agreement,
                such liquidated damages remedy shall be the sole and exclusive remedy.

         12.4. Each party shall be solely responsible for worker's compensation claims
                brought by its respective employees, and will not hold the other liable for
                 same.

      13. WARRANTIES


         13.1. (a) Bridge Solutions warrants to Client that, for a period of ninety (90)
                days from the completion and acceptance of any Services, acceptance of
                which shall be delineated pursuant to the applicable Statement of Work,
                such Services shall be performed in a workmanlike manner in accordance
                with applicable commercial standards, and the Deliverables delivered
                pursuant to a particular Statement of Work shall perform in accordance
                with the specifications therefore as set forth in such applicable Statement
                of Work. Acceptance by Client indicates acceptance of services to work on
                all hardware platforms used by the Client.

                (b) Bridge Solutions warrants to Client that all work performed under this
                Agreement has been independently developed and is not the property of
                any other party.




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      (c) Bridge Solutions warrants that all personnel that it assigns to provide
      services to Client under this Agreement or any SOW shall have the
      requisite skill, training and knowledge to provide said services.

      Client accepts sole responsibility for the use of the Deliverables hereunder
      or pursuant to any Statement of Work to achieve Client's intended results
      and the results actually obtained from such Deliverables.

13.2. The foregoing warranty shall apply to the Services performed by Bridge
      Solutions provided that (a) no software or materials that constitute
      Deliverables hereunder have been modified by Client, unless authorized
      by Bridge Solutions in writing, and in accordance with information provided
      by Bridge Solutions; (b) there has been no change in the computer
      equipment on which Bridge Solutions installed the software, unless
      authorized by Bridge Solutions in writing and such reinstallation is done in
      accordance with information provided by Bridge Solutions; (c) the
      computer equipment has sufficient capacity, is in good operating order,
      and is installed in a suitable operating environment; (d) the nonconformity
      was not caused by Client or its employees or agents or other third party
      unless authorized by Bridge Solutions; (e) Client promptly notifies Bridge
      Solutions within the warranty period set forth in Section 13.1 hereof of the
      nonconformity upon the discovery thereof by Client; and (f) all fees due to
      Bridge Solutions have been paid.

13.3. In the event of a breach of a warranty set forth in Section 13.1, and
      provided that all conditions set forth in Section 13.2 hereof have been met,
      Bridge Solutions will use commercially reasonable efforts to cause the
      Services and Deliverables, as applicable, to comply with the foregoing
      warranties.

13.4. THE FOREGOING WARRANTIES ARE BRIDGE SOLUTIONS'S ONLY
      WARRANTIES         CONCERNING          THE      SERVICES        AND        ANY
      DELIVERABLE, AND ARE MADE FOR THE BENEFIT OF CLIENT
      ONLY,     IN    LIEU     OF     ALL      OTHER       WARRANTIES            AND


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            REPRESENTATIONS, EXPRESS OR IMPLIED, INCLUDING, BUT NOT
            LIMITED TO, THAT ANY ERRORS, MALFUNCTIONS, OR DEFECTS IN
            THE DELIVERABLES CAN OR WILL BE CORRECTED, OR ANY
            IMPLIED WARRANTIES OF MERCHANTABILITY, INFORMATIONAL
            CONTENT, OR FITNESS FOR A PARTICULAR PURPOSE.

14. LIMITATION OF LIABILITY

Bridge Solutions' liability (whether in contract, tort, negligence, strict liability, or by
statute or otherwise) to Client or to any third party concerning performance or non-
performance or otherwise related to this Agreement or any Statement of Work, shall
in the aggregate be limited to direct and actual damages, but in no event shall such
liability exceed the amount of fees received by Bridge Solutions hereunder for the
portion of the Services giving rise to such claim. Except as set forth in Section 22
hereof, Bridge Solutions shall have no liability or obligation to Client as the result of
the infringement of any proprietary rights of any third party as a result of or otherwise
related to this Agreement, any Statement of Work, or the performance of any
Services thereunder.

IN NO EVENT SHALL EITHER PARTY BE LIABLE FOR CONSEQUENTIAL,
INCIDENTAL, PUNITIVE, SPECIAL, EXEMPLARY OR INDIRECT DAMAGES OR
EXPENSES (INCLUDING, WITHOUT LIMITATION, LOST PROFITS OR OTHER
ECONOMIC       LOSS,     LOST REIMBURSEMENTS,               LOST DATA,        OR    LOST
SAVINGS) EVEN IF BRIDGE SOLUTIONS WAS ADVISED OF THE POSSIBILITY
OF THE OCCURRENCE OF SUCH DAMAGES.

15. TAXES

Client shall pay all taxes, however designated and in addition to any charges payable
hereunder, incurred in connection with or as a result of this Agreement, any
Statement of Work, or the performance of the Services, including without limitation
state and local privilege, excise, sales and use taxes, except any real estate tax,
franchise tax, or tax based on Bridge Solutions' income.          Bridge Solutions shall


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defend, indemnify and hold harmless Client against any fine, penalty, additional tax
or interest that may be assessed or levied as a result of the failure of Bridge Solutions
to remit such taxes or file any return, form, or information statement that Bridge
Solutions may be required to file by any government agency.

16. ASSIGNMENT

Neither party shall assign this Agreement without the other party's written consent,
which shall not be unreasonably withheld.

17. ENTIRE AGREEMENT

This Agreement and any and all Statements of Work constitute the entire agreement
of the parties, and supersede any and all prior oral or written negotiations,
communications and agreements made by or on behalf of the parties relating to the
subject matter thereof. This Agreement and any and all Statements of Work shall be
governed by and construed in accordance with the laws of the Commonwealth of
Pennsylvania.

18. AMENDMENTS

Any amendments to this Agreement must be in writing signed by both parties hereto.

19. SEVERABILITY

If any term or provision of this Agreement is found by a court of competent jurisdiction
to be illegal, invalid or otherwise unenforceable, such term or provision shall not
affect the other terms or provisions hereof or the whole of this Agreement, but such
term or provision shall be deemed modified to the extent necessary in the court's
opinion to render such term or provision enforceable, and the rights and obligations
of the parties shall be construed and enforced accordingly, preserving to the fullest
permissible extent the intent and the agreements of the parties.




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                   20. FORCE MAJEURE

                  Except for failure to make payments when due, neither party shall be liable for loss or
                  damage suffered as result of any delay or failure in performance under this
                  Agreement; or interruption of performance resulting directly or indirectly from acts of
                  God, civil or military authority, acts of public enemy, war, riots, civil disturbance,
                   insurrections, accidents, fire, explosions, earthquakes, floods, water, wind, or
                  lightning to the extent such events are beyond the reasonable centro! of the party
                  claiming excuse from liability resulting therefrom.

                  21. DATA BACK-UP

                  Client acknowledges and agrees that the use of computer products is accompanied
                  by a risk of loss of stored data and agrees therefore to assume all responsibility for
                  the back-up of its own data, except to the extent that any loss of data is caused by
                  the gross negligence or willful misconduct of Bridge Solutions, in which event, Bridge
                  Solutions shall be liable to Client for Client's direct damages, limited however, as
                  provided by Section 14.        Bridge Solutions is responsible for maintaining an
                  appropriate backup and disaster recovery plan that involves at a minimum daily
                  backups of up all undelivered work-in-progress that is not located on Client's
                  computer systems.     Notwithstanding Section 20, a Force Majeure event shall not
                  excuse Bridge Solutions from its obligations under this section. Except as otherwise
                  provided in this Section 21, Client hereby releases Bridge Solutions from any liability
                  for damages, losses, and expenses arising from the loss of Client's stored data from
                  any and all causes.

                  22. USE OF THIRD PARTY TOOLS

                  In the course of the development of the Deliverables hereunder or pursuant to any
                  Statement of Work, Bridge Solutions may use third party tools for such development
                  purposes. Bridge Solutions shall have no liability to Client or any other party for any
                  damages, expenses, or liabilities arising from the use of such third party tools,
                  provided however that if any action or proceeding brought against Client is based on


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a claim of copyright, trade secret or patent infringement arising out of Bridge
Solutions' use of the third party tools, Bridge Solutions shall, at its own expense,
defend such action or proceeding and hold harmless Client, its parent and affiliated
companies and each of their officers, agents, employees, assigns, and successors in
interest, or any of them, from and against any and all liability, and pay all damages,
costs, losses, claims, demands, reasonable attorneys' fees, and expenses, or any of
them, arising out of such action or proceeding.

23.NOTICES


   23.1. All notices provided for or required by this Agreement shall be in writing
           and shall be delivered personally to the other designated party; or mailed
           by certified or registered mail, return receipt requested; or delivered by a
           recognized national courier service, as follows:

              lfto Client:

                   The Bon-Ton Department Stores, Inc.
                   601 Building A, Memory Lane,
                   York, PA 17402
                   Attn: James Lance, Senior Vice President- CIO

              With a copy to:
                 The Bon-Ton Department Stores, Inc.
                 2801 E. Market St.
                 York, PA 17402
                 Attn: General Counsel



              If to Bridge Solutions:

                      Bridge Solutions Group, Inc.
                      1 Bridge Plaza North, Suite 180
                      Fort Lee, NJ 07024
                      Attn: Doug Brochu, CEO


   23.2. Notices delivered pursuant to this Section         23 hereof shall be deemed
          given:

       23.2.1. at the time delivered, if personally delivered;

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           23.2.2.three (3) business days after being deposited in the mail, if mailed;

           23.2.3.and one (1) business day after timely delivery to the courier, if by
                ovemight courier service.

    23.3.         Either party hereto may change the address to which notice is to be
           sent by written notice to the other party in accordance with the provisions of
           this Section 23.

24. SECTION HEADINGS

The Section headings of this Agreement are for the convenience of the parties only
and in no way alter, modify, amend, limit, or restrict the contractual obligations of the
parties.

25. COUNTERPARTS

This Agreement may be executed in counterparts, each of which shall be deemed an
original, but all of which together shall constitute one and the same Agreement.

26. AUTHORITY; NO VIOLATION

The signatory for each party warrants that he/she has the authority to execute this
Agreement as that pari'/s binding agent and that this Agreement does not violate any
law, agreement or understanding by which the party is bound.

27. INSURANCE

(a) Bridge Solutions shall, at its own expense, obtain and maintain in full force and
effect at all times during the Term of this Agreement, policies of insurance with
insurance companies having a rating of at least A-VII or better in the current Best's
Insurance Reports published by A.M. Best and adequate to fully protect Client as well
as Bridge Solutions from and against all expenses, claims, actions, liabilities and
losses related to the subjects covered by the following policies of insurance:

   (i) Workers' Compensation insurance covering all costs, benefits and liabilities
under Workers' Compensation and similar laws which may accrue in favor of any
person employed by Bridge Solutions for all states in which Bridge Solutions
operates, and Employer's Liability insurance with limits of liability of at least $500,000
per accident or disease and $500,000 aggregate by disease.

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      (ii) Automobile Liability insurance, for owned, non-owned and hired vehicles used
  in connection with the Services to be performed under this Agreement, with limits of at
  least $500,000 for bodily injury and property damage combined. If only private
  passenger vehicles are owned or will be used in conjunction with this Agreement,
  $500,000 combined single limit of liability is acceptable. If no vehicles are owned or
  leased by Bridge Solutions, the Commercial General Liability insurance shall be
  extended to provide insurance for non-owned and hired automobiles. Limits of liability
  requirements may be satisfied by a combination of Automobile Liability and Umbrella
  Excess Liability policies.

      (iii) Commercial General Liability insurance, including by not limited to,
  premises/operations liability, contractual liability, personal and advertising injury
  liability, and products and completed operations liability, with limits of at least
  $1,000,000 per occurrence and $2,000,000 in the aggregate.

      (iv) Professional Liability insurance, including errors and omissions coverage, with
  limits of at least $1,000,000 per occurrence.

  (b) Bridge Solutions shaii furnish Client with a certificate of insurance upon the
  execution of this Agreement and thereafter upon request.

  (c) Failure to obtain and maintain required insurance shall not relieve Bridge
  Solutions of any obligation contained in this Agreement. Additionally, any approval by
  Client of any of Bridge Solutions' insurance policies shall not relieve Bridge Solutions
  of any obligation contained in this Agreement, including liability for claims in excess of
  described limits.


  28. SURVIVAL

  Upon termination or expiration of this Agreement, the following provisions shall
  continue and survive in full force and effect: Sections 7, 10 through 15, 17, 18, 20,
  22, 23, 24 and 28.




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IN WITNESS WHEREOF, the parties have executed this Agreement

THE BON-TON DEPART~ ST~RES, INC.

      By:      z;;J         ~
      Name:    D<-Vl:-d LJ, 6.'<-ro.rJ
      Title:   0 Vf   1   fAD(!. (: uv-\-~   Sf>~ S
      Date:     z) I~~~
BRIDGE SOLUTIONS GROUP, INC.

      By:        ~               B~
      Name:_Douglas Brochu_ _ _ _ _ _ _ _ _ __

      Title: _CEO_ _ _ _ _ _ _ _ _ _ _ _ _ __

     ·Date: _7/11/14_ _ _ _ _ _ _ _ _ _ _ _ __




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